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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                                 CASE NO. 3:08cr22 LAC

MICHAEL BERGER

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on June 16 , 2009
Motion/Pleadings: MOTION FOR RETURN OF PROERTY
Filed by DEFT                            on 6/3/09                      Doc.# 707

RESPONSES:
By Government                                  on 6/16/09               Doc.# 730
                                               on                       Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration    of   the    foregoing,      it     is   ORDERED    this    19 th   day   of
June, 2009, that:
(a) The relief requested is DENIED.
(b)




                                                                  s /L.A. Collier
                                                             LACEY A. COLLIER
                                                   Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
